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Duane M. Geck

Cal. State Bar No. 114823
dmg@severson.com

Donald H. Cram

Cal. State Bar No. 160004

Tex. State Bar No. 05000300
dhc@severson.com
SEVERSON & WERSON

A Professional Corporation
One Embarcadero Center, Suite 2600
San Francisco, California 94111
Telephone: (415) 398-3344
Facsimile: (415) 956-0439

Attomeys for Secured Credilor
FORD MOTOR CREDIT COMPANY LLC

UNITED STATES BANKRUPTCY COURT

NORTHERN DISTRICT OF TEXAS

 

 

 

LUBBOCK DIVISION

IN RE: §
§

REAGOR-DYKES MOTORS, LP § Case No. 18-50214-rlj11
§
Debtor. §
IN RE: §
§

REAGOR-DYKES IMPORTS, LP § Case No. 18-50215-rlj11
§
Debtor. §
IN RE: §
§

REAGOR-DYKES AMARILLO, LP § Case No. 18-50216-rlj11
§
Debtor. §
IN RE: §
§

REAGOR-DYKES AUTO COMPANY, § Case No. 18-50217-rlj11
LP §

10872.0173/11324793.1
OPPOSITION TO EMERGENCY MOTION FOR AUTHORITY TO USE CASH COLLATERAL

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Debtor.

 

IN RE:

REAGOR-DYKES PLAINVIEW, LP Case N0. 18-50218-rj111

Debtor.
IN RE:

REAGOR-DYKES FLOYDADA, LP Case No. 18-50219-rlj11

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Debtor.

FORD MOTOR CREDIT COMPANY LLC’S OPPOSITION TO EMERGENCY
MOTION FOR AUTHORITY TO USE CASH COLLATERAL

Secured Creditor, Ford Motor Credit Company LLC (“Ford Credit”), submits its
Opposition to Reagor-Dykes Motors, LP’s and other related debtor entities’ (“Debtor”)
emergency motion for authority to use cash collateral, respectfully showing the Court as follows:

INTRODUCTION

Ford Credit is the “floor plan” or “inventory” lender and financed Debtor’s inventory of
cars and trucks for resale to consumers Ford Credit has a perfected, first priority security
interest in Debtor’s inventory of vehicles as Well as all parts, furniture, fixtures, equipment and
general intangibles (primarily the franchise value), and the income generated by the sale of those
assets. Ford Credit has not consented to Debtor’s use of its cash collateral, which consists
primarily of proceeds f`rom the sale of vehicles, and has specifically demanded that Debtor
segregate and account for all cash collateral sales proceeds since the filing of its bankruptcy.
petition. Ford Credit believes there is no equity in the collateral and no “equity cushion” for
adequate protection.

Ford Credit’s inventory Wholesale Agreement requires Debtor to repay the individual
loan advance for each vehicle as that vehicle is sold. This payment requirement is a critical term

of the inventory Wholesale Agreement because each time Debtor sells a car, Ford Credit’s

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collateral is diminished Ford Credit is dependent upon the proceeds from the sale of vehicles to
pay down the loan balance owed by Debtor.

Before filing its bankruptcy petition, Debtor sold or transferred a substantial number of
vehicles and failed to pay Ford Credit. These vehicles total over $41 million in unpaid loan
advances for which the vehicle collateral is gone. The principal balances owed to Ford Credit is
approximately $116 million. Debtor’s value of the vehicles remaining in inventory is unknown
as Debtor has yet to file its Bankruptcy Schedules. However, it is nowhere near $116 million.
Ford Credit estimates that the value of the remaining vehicle collateral is approximately $66
million. Ford Credit values the remaining non-vehicle collateral comprised of parts and
accessories, furniture, fixtures and equipment at less than $3.5 million. Based on the foregoing
values, Ford Credit believes it is substantially undersecured given that the remaining collateral
has a total value of less than $ll6 million. Ford Credit believes there is no equity in the
collateral and no “equity cushion” for adequate protection.

The motion is unclear whether Debtor is attempting to continue to sell vehicles without
repaying Ford Credit the amounts advanced for the vehicles. There is no explicit representation
by Debtor as to what is to be done with the amounts owing to Ford Credit upon the sale of a
vehicle. Debtor’s offer of adequate protection consists providing Ford Credit with a
“replacement lien” but is silent as to what collateral the replacement lien attaches to. This
amounts to no adequate protection at all.

Debtor has no post-petition financing, so it is unable to acquire new inventory on a post-
petition basis. There is no basis for any value attributable to the franchises because any franchise
value can only be realized through a sale of dealership assets and a corresponding assignment of
the franchise executory agreements with the various manufacturers

Debtor’s proposed use of Ford Credit’s cash collateral significantly shifts the risk of any
reorganization or sale of assets onto Ford Credit by spending Ford Credit’s cash collateral
Without any future promise to repay Ford Credit. This risk shifting is not countenanced by the

Bankruptcy Code and should not be permitted by the Court.

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Absent an imminent sale or a debtor-in-possession financing facility, Chapter ll is not a
workable option for automobile dealerships Like the Debtor, by the time a petition is filed, the
dealership is so undercapitalized that it is unable to comply with the terms of its inventory loan
agreement and pay for normal operating expenses This usually results in the dealership selling
vehicles in default and “selling out of trust,” further eroding the inventory lender’s collateral
position. Debtor finds itself in this exact position apparently for some time. Debtor is not a
viable entity even at this early stage in its Chapter ll case. Debtor has no means to pay its
ordinary business expenses except through the use of Ford Credit’s cash collateral.

STATEMENT OF FACTS

l. On August l, 2018 (the' “Petition Date”), Debtor filed a voluntary petition for
relief under Chapter 11 of Title ll, United States Code, ll U.S.C. § 101 et seq. (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Northern District of Texas (the
“Bankruptcy Court”).

2. Debtor is an automobile dealership engaged in the business of selling and leasing
vehicles to retail customers and servicing vehicles for customers

3. Prior to the Petition Date, Ford Credit provided Debtor financing for Debtor’s
vehicle inventory to be used in its dealership operations Generally speaking, Debtor entered
into wholesale financing agreements and other loan agreements with Ford Credit, as well as
security agreements granting Ford Credit a lien in the inventory financed, as well as the
proceeds, products, rents, issues and profits of such inventory. The financing agreements,
security agreements and all related ancillary documents entered into in financing individual
vehicles are hereafter referred to as the “Loan Documents”. The collateral pledged to secure the
Loan Documents is hereinafter referred to as the “Collateral”. The titles and dates of the Loan

Documents are identified in Exhibit A hereto.l

 

l Exhibit A consists of the Declaration of Rene Leal which was filed on July 31, 2018 with the
District Court in the Northern District of Texas in connection with the case of Ford Motor Credit
Company LLC v. Reagor-Dykes Amarz'llo, L.P., et al., Case No. 5:18-cv-00186-C. Ford Credit
would ask the Court to take judicial notice of this document pursuant to Evidence Code § 201.

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4. The interests granted to secure the amounts financed by Ford Credit are evidenced
by UCC-l Financing Statements filed in the State of Texas, and thus, Ford Credit holds a
properly perfected lien in the Collateral. The filing numbers and dates of the UCC-l’s are also
set forth on Exhibit A hereto.

5. Debtor is indebted to Ford Credit in an amount that exceeds $l 16 million with
interest and other charges continuing to accrue. The indebtedness owing to Ford Credit is
secured as Ford Credit holds a pre-petition lien, in first position, in Debtor’s assets including
Debtor’s vehicle inventory, parts and supplies, fumiture, machinery and fixtures, receivables,
intangibles, including Debtor’s franchises and any proceeds therefrom.

6. Debtor’s operating revenue is primarily generated through the sales and leasing of
the financed vehicles Such proceeds constitute Ford Credit’s Cash Collateral as such term is
used in Section 363 of the Bankruptcy Code (“Cash Collateral”), and absent the consent of Ford
Credit or an order of this Court after notice and hearing, Debtor is prohibited from using such
Cash Collateral.

7. Due to pre-petition events of default and other fraudulent acts of Debtor, Ford
Credit asserts it is undersecured in the approximate amount of $41 million arising from sales of
vehicle Collateral and failure to pay Ford Credit for those sales under the terms of the Loan
Documents.2 The Debtor misrepresented when vehicles were actually sold - namely, a
significant number of vehicles were sold months prior to when the sale was reported to Ford

Credit.3

 

2 The Debtor is in default of its obligations to Ford Credit under their respective Loan
Agreements with Ford Credit because as of July 31, 2018, the Debtor has sold a substantial
number of vehicles and has failed to repay Ford Credit the amounts advanced by Ford Credit to
Debtor to acquire those vehicles totaling $41,734,000. This creates a sales-out-of-trust or
“SOT” condition. This is a serious breach of the Loan Agreements because Ford Credit has lost
its vehicle collateral and the Debtor has received the proceeds from the sale or lease of those
vehicles and used the money for other purposes_effectively reducing Ford Credit’s Collateral
that secures its loans to the Debtor.

3 See Exhibit B - Declaration of J ames Conlan which was filed on July 31, 2018 with the
District Court in the Northern District of Texas in connection with the case of F ord Motor Credit
(footnote continued)

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8. Prior to the filing of this bankruptcy petition, as a result of Debtor’s default, Ford
Credit has suspended Debtor’s credit lines to acquire vehicles

9. Ford Credit asserts that Debtor has no other source of funds to conduct its
business other than the sales proceeds generated from the sales of Vehicles and other Collateral.

10. Immediately after the filing of this bankruptcy petition Ford Credit, through its
counsel, notified counsel for Debtor that it opposed the use of its cash collateral.

ll. All of Debtor’s income is generated through the sales of vehicles and parts which
all represent the cash collateral of Ford Credit. Once Debtor sells a vehicle or part to a
consumer, Ford Credit loses its security interest in the item sold and can look only to the
proceeds of the item sold for its replacement collateral. If Debtor is permitted to use Ford
Credit’s cash collateral as proposed, then there is no adequate protection afforded to Ford Credit
for the loss of 'its cash collateral.

ARGUMENT

A. Debtor’s Cash is Part of Ford Credit’s Collateral

Debtor has no source of income to operate its business Its income is generated only
through the sales of the vehicles and parts The proceeds from the sales of new and used
vehicles and parts constitute the Cash Collateral of Ford Credit as such term is used in Section
363 of the Bankruptcy Code.

In addition, Debtor has a service department that can generate a modest amount of
income. Once Debtor sells a vehicle or part to a consumer, Ford Credit loses its security interest
in the item sold and can look only to the proceeds of the item sold for its replacement collateral.
If Debtor is permitted to use the cash collateral of Ford Credit as proposed, then there is no
adequate protection afforded to Ford Credit for the loss of its cash collateral.

Debtor carries the burden of proof on the issue of adequate protection. ll U.S.C. §363(p).

In considering the issue of whether to permit use of cash collateral, the debtor's prior conduct

 

Company LLC v. Reagor-Dykes Amarillo, L.P., et al., Case No. 5:18-cv-00186-C. Ford Credit
would ask the Court to take judicial notice of this document pursuant to Evidence Code § 201.

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may be relevant. In re Colonial Ctr., lnc., 156 B.R. 452, 463 (Bankr. E.D. Pa. 1993). Prior to
filing its petition, Debtor sold a substantial number of vehicles without paying Ford Credit, and
as of the date of the petition these vehicles remained SOT. Debtor has failed to offer Ford Credit
adequate protection. Ford Credit asserts that the vehicles and other collateral simply have
insufficient value to generate operating capital and to pay Ford Credit the amounts that Debtor
owes it.

B. Substitute Collateral D0es Not Afford Adequate Protection

Debtor is not proposing adequate protection for Debtor’s continuing use of the vehicles
and the proceeds generated therefrom while Ford Credit’s secured position deteriorates from
Debtor’s continued use of Cash Collateral. Dehtor has not carried its burden on the issue of
adequate protection, and Debtor does not appear to be in a position to provide Ford Credit with
adequate protection

The Wholesale Agreements are not revolving lines of credit. Payment for the amount
advanced for a particular vehicle is due upon the sale of that vehicle. Further, selling a vehicle
without paying Ford Credit for the amount it advanced for the vehicle significantly harms Ford
Credit’s collateral position. ln determining whether to allow Debtor to use Ford Credit’s cash
collateral, the Bankruptcy Court is tasked with establishing the value of Ford Credit’s security
interest in its collateral and then to identify the risks to Ford Credit’s value through the Debtor’s
proposed use of cash collateral.

[a] debtor, in structuring a proposal of adequate protection for a
secured creditor, “should as nearly as possible under the

- circumstances of the case provide the creditor with the value of his
bargained for rights.” American Mariner, 734 F.2d at 435.
Although the adequate protection standard and its requirement of
indubitable equivalence remains constant, whether adequate
protection exists in a given case depends upon the nature of the
collateral and the nature of the debtor's proposed use of that
collateral.

In re Martl`n, 761 F.2d 472, 476 (8th Cir. 1985).
It is unclear from Debtor’s motion whether Debtor is attempting to continue to sell

vehicles without repaying Ford Credit the amounts advanced for the vehicles There is no

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explicit representation by the Debtor as to what is to be done with amounts owing to Ford Credit
upon the sale of a vehicle.

Courts have generally only permitted a debtor to use proceeds from vehicle sales for
operations, to purchase new inventory without paying the secured creditor the amounts advanced
for the vehicles sold where the secured creditor is oversecured, and where the vehicles in
question tended to appreciate over time. In re Thomas Parker Enterprises, Inc., 8 B.R. 207, 212-
213 (Bankr. D. Conn. 1981). Courts have generally required, as adequate protection, that a
dealership, upon sale of a vehicle, pay the secured creditor the amount advanced for the vehicle
sold in accordance with its conlract. Ir¢ re Geu/'ge Ruggiere C}z)'ysle)'-Plymouth, lnc., 727 F.2d
1017,1019-1020(11th Cir.1984).

C. The Value of the Franchises is Too Speculative to be Adequate Protection

Any attempt to pledge the value of Debtor’s franchises is not adequate protection, This
value can only be realized through a sale of the dealership and a corresponding assignment of the
franchise executory agreements with the respective manufacturers Finally, Ford Credit already
has a security interest in all of Debtor’s general intangibles, which includes these franchises

There is no pending motion to approve a sale or any motion to assume and assign the
Debtor’s franchises As such, any value attributable to the dealerships is too speculative to
provide adequate protection for use of cash collateral. There is no apparent imminent sale.
Under the circumstances of this case, the speculative value of Debtor’s franchises cannot serve
as adequate protection.

D. The Risk of Sale Should not be Shifted to Ford Credit.

Debtor has identified no source of income to operate its business other than from the
sales of vehicles and parts The sources themselves are speculative given that the projections in
the budget are based upon fraudulent sales According to the proposed budget attached to
Debtor’s motion, Debtor is requesting permission to spend Ford Credit’s Cash Collateral at a clip
of about $2.3 million per month without paying Ford Credit any adequate protection payments
There is no adequate protection offered by Debtor that will repay Ford Credit for its lost

collateral proceeds used to operate the business

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In addition to a $41 million SOT and the evidence of prepetition fraud, Debtor is asking
the Court to require that Ford Credit bear the risk of a future sale or reorganization Debtor
wants to use Ford Credit’s Cash Collateral but offers no adequate protection in return Ford
Credit is undersecured. There is no equity cushion. Ford Credit’s secured position will
deteriorate as more vehicles are sold and the proceeds are used to pay operating expenses rather
than repay Ford Credit. Where future value is based upon speculation, Courts are reluctant to
shift the risk of realizing that value from the Debtor to a secured creditor if the equity cushion for
the creditor is slim or nonexistent. ln the Matter of St. Petersburg Hotel Assoc., Ltd., 44 B.R.
944, 946 (Bankr. M.D. Fla. 1984) (Court denied authority to borrow post-petition for
improvements to acquire franchise where secured creditor was undercollateralized and future
value of franchise speculative); In re Diaconx Corporation, 69 B.R. 333, 340 (Bankr. E.D. Penn.
1987) (Court denied use of cash collateral where value of personal guarantees were speculative
and equity cushion was slim).

CONCLUSION

Ford Credit fully appreciates the consequences of Debtor not being permitted to use Cash
Collateral. However, Debtor is not offering Ford Credit adequate protection Ford Credit needs
adequate protection for Debtor’s ongoing use of the proceeds from the sales of the vehicle and
parts inventories Ford Credit’s security position deteriorates and declines through Debtor’s use
of Ford Credit’s Cash Collateral. Based upon the forgoing, Ford Credit requests that Debtor’s
motion be denied or in the alternative, that Ford Credit be afforded adequate protection so that its

secured position is not further deteriorated through cash collateral use.

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DATED: August 3, 2018 SEVERSON & WERSON
A Professional Corporation

BY5 /s/ Donald H. Cram
Donald H. Cram

Attorneys for Secured Creditor
FORD MOTOR CREDIT COMPANY LLC

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Exhibit A

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lN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
LUBBOCK DIVISION

FORD MOTOR CREDIT COMPANY LLC,
Plaintiff, '

V.

REAGOR-DYKES AMARILLO, L.P.,
REAGOR DYKES AUTO COMPANY, L.P.,
REAGOR-DYKES II, L.L.C.,
REAGOR-DYKES FLOYDADA, L.P.,
REAGOR-DYKES IMPORTS, L.P.,
REAGOR AUTO MALL I, L.L.C.,
REAGOR-DYKES MOTORS, L.P.,
REAGOR-DYKES PLAINVIEW, L.P.,
REAGOR-DYKES III, L.L.C.,
BART REAGOR AND RICK DYKES
Defendants.

Civil Action No.:

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DECLARATION OF RENE LEAL

RENE LEAL, pursuant to 28 U.S.C. § 1746, declares under penalty of perjury
that the following is true and correct:

1. I arn the Financial Services Manager for the Central Market Area for
plaintiff Ford Motor Credit Company LLC (“Ford Credit”).

2. I have personal knowledge of the facts stated in this declaration and in Ford
Credit’s Complaint being filed on July 31, 2018, based upon my review of the books and records
of Ford Credit and my dealings with defendant automobile dealerships Reagor-Dykes Arnarillo,
L.P., Reagor Dykes Auto Company, L.P., Reagor-Dykes Floydada, L.P.-, Reagor-Dykes Imports,
L.P., Reagor-Dykes Motors, L.P., and Reagor-Dykes P]ainview, L.P. (the “dealerships” or

“Reagor-Dykes Dealerships”).

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3. Unless defined otherwise herein, capitalized terms have the same meaning
as in Ford Credit’s Complaint, being filed on July 31, 2018.

4. Ford Credit seeks the Order requested to protect its interests as the holder of
a first priority, perfected security interest in Collateral (including vehicle inventory) that is
currently in the possession of the Reagor-Dykes Dealerships.

5. Ford Credit seeks this Order because, among other reasons, the dealerships
have sold vehicles in which Ford Credit has a security interest without remitting required
payments to Ford Credit (and is, therefore, out of trust), have repeatedly submitted false or
inaccurate information to Ford Credit and its representatives, are otherwise in default under their
financing and security agreements with Ford Credit, have failed to cure their defaults in spite of
the opportunity to do so, and have not voluntarily surrendered collateral in their possession that
is subject to Ford Credit’s security interests

6. F ord Credit also seeks a temporary restraining order, pending the issuance
of the Order requested, to protect against further depletion or dissipation of its Collateral and the
proceeds of the same.

7. Ford Credit has made repeated efforts to resolve this matter with the
dealerships, short of applying the Order requested, but those efforts have failed.

8. The continued deterioration of the Reagor-Dykes Dealerships’ financial
position, and their inability to cure defaults that are believed to exceed forty million dollars
($40,000,000.00), leaves Ford Credit with no choice but to seek the requested Order in order to

recover its collateral and otherwise protect its rights as a secured creditor.

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9. All of the documents attached to Ford Credit’s Complaint, being filed July
31, 2018, are business records of Ford Credit, and the copies attached thereto are true and correct
copies of such records

THE DEALERSHlPS’ AGREEMENTS WITH FORD CREDIT
A. RD Plainvicw Agreements and Guaranties

10. On or about June 22, 2015, RD Plainview executed and delivered to F ord
Credit an Automotive Wholesale Plan Application for Wholesale Financing and Security
Agreement (the “RD Plainview Wholesale Agreement”). A copy of the RD Plainview
Wholesale Agreement is attached as Exhibit A to Ford Credit’s Complaint.

11. On or about June 22, 2015, RD Plainview executed and delivered a Security
Agreement to Ford Credit (the “RD Plainview Security Agreement”). A copy of the RD
Plainview Security Agreement is attached as Exhibit B to Ford Credit’s Complaint.

12. On or about June 19, 2015, RD 1II executed and delivered a Security
Agreement to Ford Credit (the “RD lII Security Agreement”). A copy of the RD 111 Security
Agreement is attached as Exhibit C to Ford Credit’s Complaint.

13. On or about June 19, 2015, Bart Reagor and Rick Dykes, as individuals, and
as managers and members of RD III, executed and delivered to Ford Credit a Continuing
Guaranty (the “RD Plainview Guaranty”). A copy of the RD Plainview Guaranty is attached as
Exhibit D to Ford Credit’s Complaint.

14. Bart Reagor as president for RD III executed a Limited Liability Certificate
in connection with the RD Plainview Guaranty on October 12, 2015 (the “RD III Certificate”),

A copy of the RD III Certificate is attached as Exhibit E to Ford Credit’s Complaint.

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15. On or about June 19, 2015 , and in order to induce Ford Credit to extend
financing to RD Plainview under the RD Plainview Wholesale Agreement, Bart Reagor and Rick
Dykes, as individuals and as managers and members of RD III executed and delivered to Ford
Credit a Wholesale Financing Guaranty (the “RD Plainview Wholesale Guaranty”). A copy of
the RD Plainview Wholesale Guaranty is attached as Exhibit F to Ford Credit’s Complaint.

B. RD Imports Agreenlcnts and Guaranties

16. On or about October 13, 2014, RD Imports executed and delivered to Ford
Credit an Automotive Wholesale Plan Application for Wholesale Financing and Security
Agreement (the “RD Imports Wholesale Agreement”). A copy of the RD Imports Wholesale
Agreement is attached as Exhibit G to Ford Credit’s Complaint.

17. On or about October 13, 2014, RD Imports executed and delivered a
Security Agreement to Ford Credit (the “RD Imports Security Agreement”). A copy of the
Security Agreement is attached as Exhibit H to Ford Credit’s Complaint.

18. On or about October 13, 2014, Bart Reagor, and Rick Dykes, as individuals
and as members of Reagor Auto Mall, executed and delivered to Ford Credit a Continuing
Guaranty.

19. On or about November 13, 2014, RD Auto Co., RD Motors, and RD
Amarillo executed and delivered to Ford Credit a Continuing Guaranty. Copies of the RD
Imports Guaranties are attached as Exhibits land l to Ford Credit’s Complaint.

20. Bart Reagor and Rick Dykes, as managing members of Reagor Auto Mall,
executed a Limited Liability Certificate in connection with the RD Imports Guaranty on October
13, 2014 (the “LLC Certificate”). A copy of the LLC Certificate is attached as Exhibit K to Ford

Credit’s Complaint.

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C. The RD Moter AgLeemcnts and Guaranties

21. On or about March 3, 2008, RD Motors executed and delivered to Ford
Credit an Automotive Wholesale Plan Application for Wholesale Financing and Security
Agreement (the “RD Motors Wholesale Agreement”). A copy of the RD Motors Wholesale
Agreement is attached as Exhibit L to Ford Credit’s Complaint.

22. RD Motors executed and delivered to Ford Credit a Security Agreement on
or about March 3, 2008, and a Master Security Agreement (Ford/Lincoln Rent-A-Car) (the “RD
Motors Master Security Agreement”) on or about December 15, 2011 (collectively, the “RD
Motors Security Agreements”). Copies of the RD Motors Security Agreements are attached as
Exhibit M to F ord Credit’s Complaint.

23. On or about November 21, 2011, RD Motors executed and delivered to Ford
Credit a Master Loan and Security Agreement (the “Master Loan Agreement”). A true and
correct copy of the master Loan Agreement is attached as Exhibit N to F ord Credit’s Complaint.

24. On or about November 21, 2011, RD Motors also executed and delivered to
Ford Credit a Loan Supplernent to Master Loan and Security Agreement (Revolving Line of
Credit) (the “Loan Supplement”). A copy of the Loan Supplement is attached as Exhibit O to
Ford Credit’s Complaint.

25. On or about April 30, 2014, RD Motors further executed and delivered to
Ford Credit a Loan Supplement Master Loan and Security Agreement (Revolving Line of Credit
Amendment) (the “Second Loan Supplement”). A copy of the Second Loan Supplement is
attached as Exhibit P to F ord Credit’s Complaint.

26. On or about November 24, 2014, RD Motors, RD Auto, RD Imports, RD

Amarillo, executed and delivered to F ord Credit an Amendment (Master Loan and Security

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Agreement) (the “Amendrnent”). A copy of the Amendment is attached as Exhibit Q to Ford
Credit’s Complaint.

27. On or about November 24, 2014, RD Motors, RD Auto, RD Imports, and
RD Amarillo executed and delivered to Ford Credit a third Loan Supplement (Master Loan and
Security Agreement) (Revolving Line of Credit Increase) (the “Third Loan Supplement”). A
copy of the Third Loan Supplement is attached as Exhibit R to Ford Credit’s Complaint.

28. On or about January 14, 2017, RD Motors, RD Auto, RD Imports, RD
Amarillo, RD Plainview, and RD Floydada (collectively the “Borrowers”) executed and
delivered to Ford Credit a Second Amendment (Master Loan and Security Agreement) (the
“Second Aincndmcnt”). A copy of thc Second Amendment is attached as Exhibit S to Ford
Credit’s Complaint.

29. On or about January 14, 2017, the Borrowers, executed and delivered to
Ford Credit a Fourth Loan Supplement (Master Loan and Security Agreement) (Revolving Line
of Credit - Amendment) (the “Fourth Loan Supplement”). A copy of the Fourth Loan
Supplement is attached as Exhibit T to Ford Credit’s Complaint.

30. On or about November 21, 2011, RD Motors, Bart Reagor and Rick Dykes
executed and delivered to Ford Credit a Cross-Default and Cross-Collateralization Agreement
(“the Cross-Default Agreemen ”). A copy of the Cross-Default Agreement is attached as Exhibit
U to Ford Credit’s Complaint.

31. On or about November 24, 2014, RD Motors, RD Auto, RD Imports, RD
Amarillo, Bart Reagor and Rick Dykes executed and delivered to Ford Credit a second Cross-

Default and Cross-Collateralization Agreement (the “Second Cross-Default Agreement”). A

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copy of the Second Cross-Default Agreement is attached as Exhibit V to Ford Credit’s
Complaint.

32. On or about January 14, 2017, the Borrowers, Bart Reagor, and Rick Dykes
executed and delivered to Ford Credit an Amended and Restated Cross-Default and Cross-
Collateralization Agreement (the “Amended Cross-Default Agreement”). A copy of the
Amended Cross-Default Agreement is attached as Exhibit W to Ford Credit’s Complaint.

33. On or about November 21, 2011, and in order to induce Ford Credit to
extend financing to the dealerships under the Loan Agreement, Bart Reagor and Rick Dykes
executed, and delivered to Ford Credit, a Continuing Guaranty (the “Loan Guaranty”). A copy
of the Loan Guaranty is attached as Exhibit X to Ford Credit’s Complaint and is incorporated by
reference l

34. Mr. Reagor and Mr. Dykes reaffirmed their Loan Guaranty on April 30,
2014, November 24, 2014 and January 14, 2017 by executing, and delivering to Ford Credit
Reaffirmations of Guaranties (the “Reaffirrnations”). Copies of the Reaffirmations are attached
as Exhibit Y to Ford Credit’s Complaint.

35. On or about November 13, 2014, RD Auto and RD Amarillo executed and
delivered to Ford Credit a Continuing Guaranty (the “l 1/13/14 RD Motors Guaranty”).

36. On or about October 12, 2015, RD Auto executed and delivered to Ford
Credit a Continuing Guaranty (the “10/ 12/ 15 RD Motors Guaranty”).

37. Collectively, the 4/5/07 RD Motors Guaranties, 11/13/14 RD Motors
Guaranty, and 10/12/15 RD Motors Guaranty are referred to as the “RD Motors Guaranties,” and

are attached as Exhibit Z to Ford Credit’s Complaint.

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38. Bart Reagor, as president for Reagor Auto, executed a Limited Liability
Certificate in connection with its RD Motors Guaranties on September 29, 2016 (the “Reagor
Auto Certificate”). -A copy of the Reagor Auto Certificate is attached as Exhibit AA to Ford
Credit’s Complaint.
D. The RD Amarillo Agreements and Guaranties

39. On or about October 13, 2014, RD Amarillo executed and delivered to Ford
Credit an Automotive Wholesale Plan Application for Wholesale Financing and Security
Agreement (the “RD Amarillo Wholesale Agreement”). A copy of the RD Ainarillo Wholesale
Agreement is attached as Exhibit BB to Ford Credit’s Complaint.

40. On or about October 13, 2014, RD Amarillo executed and delivered to Ford
Credit a Security Agreement (the “RD Amarillo Security Agreement”), and a Master Security
Agreement (the “RD Arnarillo Master Security Agreement”) (collectively, the “RD Amarillo
Security Agreements”). Copies of the RD Amarillo Security Agreements are attached as Exhibit
CC to Ford Credit’s Complaint.

41 . On or about October 13, 2014, Bart Reagor and Rick Dykes, individually,
and Reagor Auto Mall, executed and delivered to Ford Credit a Continuing Guaranty and a
Wholesale Financing Guaranty (collectively, the “RD Arnarillo Guaranties I”). Copies of the
RD Amarillo Guaranties are attached as Exhibit DD to Ford Credit’s Complaint.

42. On or about November 13, 2014, RD II, L.L.C., RD Motors, and RD
Imports executed and delivered to Ford Credit a Continuing Guaranty (the “RD Amarillo
Guaranty Il”). A copy of the RD Amarillo Guaranty II is attached as Exhibit EE to Ford Credit’s

Complaint.

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43. Bart Reagor and Rick Dykes, as managing members of Reagor Auto Mall
executed a Limited Liability Certificate in_ connection with its RD Amarillo Guaranties on
October l, 2014 (the “Reagor Auto Ma]l Certificate”). A copy of the Reagor Auto Mall
Certificate is attached as Exhibit FF to Ford Credit’s Complaint.

E. The I*`lovdada Agl'eemegls_and Guaranties

44. On or about October l, 2015, RD Floydada executed and delivered to Ford
Credit an Automotive Wholesale Plan Application for Wholesale Financing and Security
Agreement (the “RD Floydada Wholesale Agreement”). A copy of the RD Floydada Wholesale
Agreement is attached as Exhibit GG to Ford Credit’s Complaint.

45. On or about October 1, 2015, RD Floydada executed and delivered a
Security Agreement to Ford Credit (the “RD Floydada Security Agreement”). A copy of the RD
Floydada Security Agreement is attached as Exhibit HH to Ford Credit’s Complaint.

46. On or about January 8, 2016, Bart Reagor and Rick Dykes, as individuals,
and Reagor Auto Mall, executed and delivered to Ford Credit a Continuing Guaranty (the “RD
Floydada Guaranty”).

47. The individuals and entity who executed the RD Floydada Guaranty are
referred to collectively as the “RD Floydada Guarantors.” A copy of the RD Floydada Guaranty
is attached as Exhibit II to F ord Credit’s Complaint.

48. Bart Reagor and Rick Dykes, as the Members/Managers/Officers of Reagor
Auto Mall, executed a Limited Liability Certificate in connection with the RD Floydada
Guaranty on October l, 2015 (the “Limited Liability Certificate”). A copy of the Limited
Liability Certificate is attached as Exhibit JJ to Ford Credit’s Complaint.

F. The RD Auto Agreements and Guaranties

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49. On or about October 13, 2014, RD Auto executed and delivered to Ford
Credit an Automotive Wholesale Plan Application for Wholesale Financing and Security
Agreement (the “RD Auto Wholesale Agreement”). A copy of the RD Auto Wholesale
Agreement is attached as Exhibit KK to F ord Credit’s Complaint.

50. On or about October 13, 2014, RD Auto executed and delivered to Ford
Credit a Security Agreement (the “RD Auto Security Agreemen ”) and a Master Security
Agreement (the “RD Auto Master Security Agreement”) (collectively, the “RD Auto Security
Agreements”). A copy of the RD Auto Security Agreements are attached as Exhibit LL to Ford
Credit’s Complaint.

51. On or about October 13, 2014, Bart Reagor and Rick Dykes, as individuals
and Reagor-Dykes 11, L.L.C., executed and delivered to Ford Credit a Continuing Guaranty (the
“RD Auto Guaranty l”). A copy of the RD Auto Guaranty 1 is attached as Exhibit MM to Ford
Credit’s Complaint.

52. On or about November 13, 2014, Reagor-Dykes Amarillo, L.P., Reagor-
Dykes Motors L.P., and Reagor-Dykes Imports, L.P. executed and delivered to Ford Credit a
Continuing Guaranty (the “RD Auto Guaranty II”). A copy of the RD Auto Guaranty 11 is
attached as Exhibit NN to Ford Credit’s Complaint.

53. Bart Reagor and Rick Dykes, as the Members/l\/Ianagers/Officers of Reagor-
Dykes II, L.L.C. executed a Limited Liability Certificate in connection with the RD Auto
Guaranty 11 on October 13, 2014 (the “RD Auto Limited Liability Certificate”). A copy of the
RD Auto Limited Liability Certificate is attached as Exhibit OO to Ford Credit’s Complaint.

54. On or about October 13, 2014, Bart Reagor and Rick Dykes, as individuals,

and Reagor-Dykes 11, L.L.C. executed and delivered to Ford Credit a Wholesale Financing

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Guaranty (the “RD Auto Guaranty III”). A copy of the RD Auto Guaranty 111 is attached as
Exhibit PP to Ford Credit’s Complaint.
FORD CREDIT’S SECURITY INTERESTS

5 5. The RD Plainview Collateral, RD III Collateral, RD Imports Collateral, RD
Motors Collateral, RD Amarillo Collateral, RD Floydada Collateral, and RD Auto Collateral are
referred to collectively as the “Reagor-Dykes Collateral.”

56. Throughout its history with the Reagor-Dykes Dealerships and other
entities Ford Credit has maintained a first priority, perfected security interest in the Reagor-
Dykes Collateral by filing financing statements continuations, and amendments with the Texas
Secretary of State.

57. Ford Credit filed initial financing statements in Texas to perfect its security
interests in the Reagor-Dykes Collateral. Copies of Ford Credit’s financing statements are
attached as Exhibit QQ to Ford Credit’s Complaint. A copy of Exhibit QQ is also attached to
this declaration

THE DEALERSHIPS’ DEFAULTS AND BREACHES
OF THEIR AGREEMENTS WITH FORD CREDIT

58. After a June 2018 audit of the inventory of the Reagor-Dykes Dealerships
Ford Credit undertook an initial analysis of the audit results and sales and registration data from
the Texas DMV and other publicly available sources

59. In the course of Ford Credit’s initial analysis of sales data for the Reagor-
Dykes Dealerships Ford Credit reviewed sales information for one hundred fifty (150) reported
sales by those dealerships

60. Based upon both Texas DMV and other publicly-available sales and

registration sources Ford Credit determined that the sales dates reported by the dealerships for

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one hundred forty-seven (147) of these vehicles did not match the sales and/or registration dates
reported by the Texas DMV and/or other publicly-available sources This analysis is ongoing.

6l. Based upon Ford Credit’s initial analysis substantial variances existed
between the dealership’s reported sales dates and the other records that Ford Credit reviewed,
with an average violation discrepancy of fifty-five (55) days (across all of the dealerships).

62. In other words the initial analysis that Ford Credit performed indicated that
one hundred forty-seven (147) of the one hundred fifty (150) vehicles sold by the dealerships
were sold, on average, fifty-five (55) days before the date upon which the dealerships paid them
off.

63. As a result, the dealerships were able to delay making payments to Ford
Credit for extended periods of time, well beyond the seven (7) processing days permitted under
their agreements with Ford Credit.

64. In addition, Ford Credit’s initial analysis identified several instances where
the Reagor-Dykes Dealerships double-floored vehicles (this analysis is ongoing).

65. In those instances the Reagor-Dykes Dealerships submitted information to
Ford Credit to obtain floorplan financing at one of the dealerships and then did so again at a
second dealership - thereby obtaining double financing from Ford Credit.

66. In fifteen (15) other instances F ord Credit’s initial analysis indicated that
the Reagor-Dykes Dealerships transferred a vehicle that was being sold from one dealership to
another and then, after the vehicle was sold, floorplarmed that vehicle with Ford Credit even
though it was no longer in inventory, thus obtaining financing payments from Ford Credit under

false pretenses

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67. By providing Ford Credit with false and/or incorrect information concerning
the sales date of certain vehicles the Reagor-Dykes Dealerships were able to avoid and/or delay
paying Ford Credit the amounts owed to it for such vehicles

68. On July 26 and 27, 2018, a further audit of the vehicle inventory at the
various Reagor-Dykes Dealerships’ locations revealed that each dealership was out of trust,
having sold vehicles that were subject to F ord Credit’s security interests without remitting
proceeds from those sales to Ford Credit.

69. Selling vehicles out of trust is a violation of` the Reagor-Dykes Dealerships’
agreements with F ord Credit, and constitutes a default under those agreements

70. After these defaults were discovered, the Reagor-Dykes dealerships
authorized electronic funds transfers (“EFTS”) to Ford Credit totaling over $41 Million.

71. EFTs are now being returned for insufficient funds and/or because payment
on at least some of them has been stopped by Defendants.

72. Upon information and belief, as of July 31, 2018, and subject to Ford

Credit’s continuing investigation, the estimated amounts owed by each dealership are set below:

 

 

Dealership Estimated Amount Amount currently due
Outstanding
RD Motors $ 38,983,000.00 $ 8,472,000.00

 

 

 

 

 

 

RD Amarillo $ 9,565,000.00 $ 4,207,000.00
RD Imports S 12,895,000.00 $ 6,728,000.00
RD Auto $ 19,747,000.00 $ 5,410,000.00
RD Plainview $ 15,805,000.00 $ 4,993,000.00
RD Floydada $ 19,173,000.00 $11,924,000.00

 

 

 

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$116,168,000.00 $41,734,000.00

 

 

 

 

 

73. Ford Credit has demanded that the Reagor-Dykes dealerships cure their
defaults and pay all amounts currently due to Ford Credit, but they have failed to do so.

74. On or about July 31, 2018, Ford Credit also delivered Voluntary Surrender
Agreements to counsel representing the Defendants, requesting that Defendants voluntarily
surrender the Reagor-Dykes Collateral to Ford Credit. Copies of the Voluntary Surrenders are
attached as Exhibit RR to Ford Credit’s Complaint.

75. As of the filing of this Complaint, the Reagor-Dykes Collateral has not been
surrendered

76 . As of the date of Ford Credit’s complaint, the Reagor-Dykes Guarantors
have also failed to pay the amounts currently due.

CONCLUSION

77. Based on all of the above, Ford Credit has instituted this action to seek
sequestration of its Collateral, interim injunctive relief, and recovery of any resulting deficiency
after Ford Credit’s Collateral is liquidated

78. Ford Credit respectfully submits that it is likely to be successful on its
claims against Defendants, and that it knows of no defense to its claims

79. Defendants’ indebtedness to Ford Credit, and Ford Credit’s right to
immediate possession of the Collatcral, is amply demonstrated by the documentary evidence
attached to Ford Credit’s Complaint and by the accompanying Declarations of Gary Byrd and
J ames Conlan.

80. Defendants’ failure to voluntarily surrender the Collateral is irreparably

harming F ord Credit, inasmuch as the value of the Collateral is rapidly depreciating.

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81. ln addition, given the Reagor-Dykes Dealerships’ recent history of selling
vehicles out oftrust, as well as submitting false or inaccurate information to F ord Credit that has
avoided or delayed payments to F ord Credit and has allowed the Reagor-Dykes Dealerships to
obtain loans from Ford Credit by false pretenses Ford Credit has every reason to believe that,
absent the intervention of this Court, the Reagor-Dykes Dealerships will continue to transfer,
remove, or otherwise dispose ofthc Col|ateral, all of which will result in substantial losses to
Ford Credit.

82, Accordingly, Ford Credit requests that this Court issue the Order requested

83. A schedule of new and used motor vehicles financed pursuant to the
agreements list above, and believed to be located at each dealerships’ respective premises is
attached as Exhibit SS to Ford Credit’s Complaint. A copy of Exhibit SS is also attached to this
declaration

84. Ford Credit is prepared to post any undertaking deemed necessary by the
Court.

85. Further, Ford Credit requests that, pending the issuance of the Order
requested, the Court impose strict interim controls and other measures to protect Ford Credit’s
Collateral (as outlined in F ord Credit’s Order to Show Cause), and grant such other and further
relief as is necessary to protect F ord Credit’s interests

86. No prior application for this relief has been made.

 

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Dated; .iuly31,2018 /‘--e‘-~-~. “ ' ..
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Exhibit B

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OPPOSITION TO EMERGENCY MOTION FOR AUTHORITY TO USE CASH COLLATERAL

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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
LUBBOCK DIVISION

FORD MOTOR CREDIT COMPANY LLC,
Plaintiff,

V.

§
§
§
§
REA,GOR-DYKES AMARILLO, L.P., §

REAGO.R DYKES AUTO COMPANY, L.P., §

REAGOR-DYKES ll, L.L.C., § Civil Action No.:
REAGOR-DYKES FLOYDADA,- L.P., §

REAGOR-DYKES IMPORTS, L.P., §

REAGOR AUTO MALL I, L.LiC., §

REAGOR-DYKES MOTORS, L.P., §

REAGOR-DYKES PLAINVIEW, L.P., §

REAGOR-DYKES 111, L.L.C., §

BART REAGOR AND RICK DYKES §

Defendants.
DECLARATION OF JAMES CONLAN

JAMES C.ON`LAN, pursuant to 28 U.S._C.. § 1746, declares under penalty of
perjury that the following is true and correct:

l. 1 am an employee with plaintiff Ford Motor Credit Company (“F ord
Credit”) in its Quality and Process Management Department and a 6-Sigma Black Belt.

2. 1 have personal knowledge of the facts stated in this Declaration.

3. In my role with Ford Credit, 1 was asked to undertake an analysis of the
most recent vehicle inventory audit of the Reagor-Dykes Dealerships and to compare the sales
information reported to the auditors by the Reagor-Dykes Dealerships to registration and sales
data available from the Texas DMV and other publicly-available sources

4. 1 was asked to undertake that analysis as part of Ford Credit’s ongoing

effort to monitor vehicle sales information reported through vehicle inventory audits and to

identify dealerships that may be inaccurately or falsely reporting sales ~.data.

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5. My review of the audit results for the Reagor-Dykes Dealerships in
particular, was triggered because its sales data suggested a high percentage of vehicles that were
potentially sold before the dates reported by the dealerships to the auditors without the
dealerships having made timely payment to F ord Credit upon the sale of those vehicles

6. 1n the case of the Reagor-Dykes Dealerships, Ford Credit previously
allowed those dealerships seven (7) processing days to make payments due to Ford Credit for
any vehicles that were sold by the Reagor-Dykes Dealerships and upon which they owed money
to Ford Credit.

7. In the course of my initial analysis of sales data for the Reagor-Dykes
Dealerships I reviewed sales information for one hundred fifty (150) reported sales by those
dealerships Based upon both Texas DMV and other publicly-available sales and registration
sources 1 determined that the sales dates reported by the dealerships for one hundred forty-seven
(147) of these vehicles did not match the sales and/or registration dates reported by the Texas
DMV and/or other publicly-available sources This analysis is ongoing.

8. Based upon my initial analysis substantial variances existed between the
dealership’s reported sales dates and the other records that 1 reviewed, with an average violation
discrepancy of` fifty-five (5_5) days (across all of the dealerships).

9. In other words the initial analysis that 1 performed indicated that one
hundred forty-seven (147) of the one hundred fifty (150) vehicles sold by the dealerships were
sold, on average, fifty-five (55')' days before the date upon which the dealerships paid them off.

10. As a result, the dealerships were able to delay making payments to Ford
Credit for extended periods of time, Well beyond the seven (7) processing days permitted under

their agreements with Ford Credit.

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11. In addition, my initial analysis identified several instances where the
Reagor-Dykes Dealerships double-floored vehicles (this analysis is ongoing).

12. In those instances the Reagor-Dykes Dealerships submitted information
to Ford Credit to obtain floorplan financing at one of the dealerships and then did so again at a
second dealership - thereby obtaining double financing from Ford Credit.

13, In fifteen (15) other- instances my initial analysis indicated that the
Reagor-Dykes Dealerships transferred a vehicle that was being sold from one dealership to
another and then, after the vehicle was sold, floorplanncd that vehicle with Ford Credit even
though it was no longer in inventory, thus obtaining financing payments from Ford Credit under
false pretenses

14. Given the above, l recommended that Ford Credit perform a further
physical audit of the vehicle inventory of all of the Reagor-Dykes Dealerships

15. That further physical audit took place on Thursday, July 26, 2018 and
Friday, July 27, 2018.

1_6. Ford Credit is still attempting to reconcile the results of that most-recent
audit with records obtained both from the Reagor-Dykes Dealerships and the Texas DMV and
other publicly-available sources While that effort remains ongoing, the information that I have
reviewed to date indicates that the problems identified by my initial analysis affect all of the

Reagor-Dykes Dealerships are pervasive, and are continuing

Dated: July 31, 2018 g:-`LL

i@n"s CONLAN "‘“*""”

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